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                     IN THE UNITED STATES DISTRICT COURT FOR
                       THE NORTHERN DISTRICT OF OKLAHOMA

 UNITED STATES OF AMERICA,                            )
                                                      )
                        Plaintiff,                    )
                                                      )       Case No. 13-CR-28-031-JED
 v.                                                   )
                                                      )       USM Number: 13370-062
 MICHAEL DWAYNE SEALS,                                )
     a/k/a “Mike Seals”                               )
     a/k/a “Big Mike”                                 )
                                                      )
                        Defendant.                    )


                                     OPINION AND ORDER

        Before the Court is defendant’s motion to set aside judgement of imprisonment, supervised

 release and assessment and to consider downward departure in sentencing guideline range (Doc.

 2247). Defendant moves this Court to consider relief and set aside judgment and modify his sentence

 to a term of twelve months imprisonment due to his mental health condition and previously

 undisclosed addiction to PCP.

        On November 10, 2016, defendant was sentenced after pleading guilty to a single-count

 information charging Felon in Possession of Firearm and Ammunition, in violation of 18 U.S.C. §§

 922(g)(1) and 924(a)(2). The Court sentenced defendant to 77 months in the custody of the Bureau

 of Prisons after granting a downward departure from the advisory guideline imprisonment range of

 92 to 115 months.

        The Court does not have the authority to reconsider and reduce defendant’s sentence. A

 district court’s authority to reconsider sentencing may stem only from a statute or rule of criminal

 procedure that expressly grants the court jurisdiction to do so. United States v. Mendoza, 118 F.3d

 707,709 (10th Cir. 1997); see United States v. Smartt, 129 F.3d 539,541 (10th Cir. 1997) (holding
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 that unless the basis for resentencing falls within one of the specific categories authorized by statute,

 the district court lacks jurisdiction to consider defendant’s request); United States v. Blackwell, 81

 F.3d 945, 947, 949 (10th Cir. 1996) (holding that a district court is authorized to modify a

 defendant’s sentence only in specified instances where Congress has expressly granted to court

 jurisdiction to do so; therefore, a district court does not have inherent power to resentence

 defendants at any time); See 18 U.S.C. § 3582(b). See also Fed. R. Crim. P. 35(a) - Correcting a

 Sentence. Accordingly, the defendant’s motion to set aside judgment and reconsider sentence must

 be dismissed for lack of jurisdiction.




         IT IS THEREFORE ORDERED that defendant’s motion to set aside judgment and

 reconsider sentence is dismissed for lack of jurisdiction.



         SO ORDERED this 27th day of September, 2017.




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